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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

    MATTHEW COLWELL,

           Plaintiff,

          v.

    RYAN WALTERS, in his official
    capacity as Superintendent of Public
    Instruction and in his individual
    capacity,
                                                              Civil Action No. 5:23-00476-G
          and

    MATT LANGSTON, in his official
    capacity as Chief Policy Advisor,
    Administrative Services, and in his
    individual capacity,

          Defendants.


                                ENTRY OF APPEARANCE

To the Clerk of this court and all parties of record:

         Enter my appearance as counsel in this case for: Defendant Ryan Walters, in his

individual capacity, and Defendant Matt Langston, in his individual capacity.1

         I certify that I am admitted to practice in this Court and am registered to file

documents electronically with this Court.




1
    Separate counsel represent Defendants Walters and Langston in their official capacities.
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                                          Respectfully submitted,


                                          /s/ Trevor Paul
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                                          COUNSEL FOR DEFENDANTS RYAN
                                          WALTERS AND MATT LANGSTON, in
                                          their Individual Capacities



                             CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2024, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Case Filing System for filing. Based
on the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System.

                                                 /s/ Trevor Paul
                                                 Trevor Paul




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